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      In the United States Court of Federal Claims
                                   No. 13-269C
                              (Filed March 21, 2014)
                             NOT FOR PUBLICATION

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ARNOLD R. GALLOWAY,     *
                        *
             Plaintiff, *
                        *
         v.             *
                        *
THE UNITED STATES,      *
                        *
             Defendant. *
                        *
*************************


                                      ORDER

       The government filed a motion to transfer this case back to the United States
District Court for the Southern District of California, arguing that we lack subject-
matter jurisdiction over Fair Labor Standards Act claims under its reading of
United States v. Bormes, 133 S. Ct. 12, 18-19 (2012). Plaintiff does not oppose the
motion. The Court has elsewhere disagreed with the government’s argument, see
Farzam v. United States, 13-075C, 2013 WL 5819273 (Fed. Cl. Oct. 29, 2013), and
the Federal Circuit has today issued an opinion rejecting the government’s reading
of Bormes. See Abbey v. United States, No. 2013-5009, Slip Op. at 10-17 (Fed. Cir.
Mar. 21, 2014). Under this binding precedent, our Court and not the district court
would possess jurisdiction over plaintiff’s claim, under the Tucker Act, and
accordingly the motion to transfer is DENIED. The Joint Preliminary Status
Report shall be filed on or by Monday, April 21, 2014.

IT IS SO ORDERED


                                       s/ Victor J. Wolski
                                       VICTOR J. WOLSKI
                                       Judge
